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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


MARK ORTEGA, INDIVIDUALLY AND                    §
ON BEHALF OF ALL OTHERS                          §
SIMILARLY SITUATED;                              §                 SA-24-CV-00369-JKP
                                                 §
                  Plaintiff,                     §
                                                 §
vs.                                              §
                                                 §
DITOMMASO INC., DATA KING OF                     §
NEW YORK INC., MERIDIAN                          §
SERVICES, L.L.C.,                                §
                                                 §
                  Defendants.



                                    SCHEDULING ORDER

        Before the Court is the above-styled action. On December 16, 2024, Plaintiff appeared

pro se and Defendant DiTommaso Inc. appeared through counsel at an Initial Pretrial

Conference. Pursuant to Federal Rule of Civil Procedure 16, and consistent with the parties’

Agreed Scheduling Recommendations and representations at the Initial Pretrial Conference, the

Court issues this Scheduling Order and the following dates are entered to control the course of

this case:

        1. Offer of Settlement: The parties asserting claims for relief must submit a written offer
of settlement to opposing parties by February 14, 2025, and each opposing party must respond
in writing by February 28, 2025.

        2. Amend/Supplement Pleadings, Joinder of Parties: Subject to Local Rule CV-15, the
parties shall file all motions to amend or supplement pleadings or to join additional parties by
March 31, 2025.

         3. Designation of Witnesses, Experts, and Exhibits: All parties asserting claims for relief
shall file their designation of potential witnesses, testifying experts, and proposed exhibits, and
must SERVE on all parties but NOT FILE the materials required by Fed. R. Civ. P. 26 by July
31, 2025. Parties resisting claims for relief must file their designation of potential witnesses,
testifying experts, and proposed exhibits, and must SERVE on all parties but NOT FILE the

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materials required by Fed. R. Civ. P. 26 by August 28, 2025. All designations of rebuttal
experts must be designated within 14 days of receipt of the report of the opposing expert.

        4. Expert Testimony Objection: An objection to the reliability of an expert’s proposed
testimony under Federal Rule of Evidence 702 must be made by motion, specifically stating the
basis for the objection and identifying the objectionable testimony, within 30 days of receipt of
the written report of the expert’s proposed testimony, or within 30 days of the expert’s
deposition, if a deposition is taken, whichever is later.

       5. Discovery: The parties must complete discovery by October 31, 2025. Counsel may
by agreement continue discovery beyond the deadline, but there will be no intervention by the
Court except in extraordinary circumstances, and no trial setting will be vacated because of
information obtained in post-deadline discovery.

       6. Dispositive Motions: All dispositive motions shall be filed by December 19, 2025.
Dispositive motions and responses to dispositive motions are limited to 20 pages in length, and
any reply in support of a dispositive motion is limited to 10 pages in length. See Local Rule CV-
7.

        7. Mediation: The parties must mediate this case on or before June 6, 2025, and file a
report in accordance with Local Rule CV-88 within one week of the completion of mediation.

        8. The Court will set dates for trial and the final pretrial conference after ruling on any
dispositive motions or after the deadline for such motions passes without a pertinent filing. At
that time, the Court will also set appropriate deadlines for trial and pretrial conference matters.

       9. If at any time during the pendency of this lawsuit, you would like to consent to the trial
of your case by a United States Magistrate Judge, please indicate your consent on the attached
form or request a form through the Clerk’s Office. If all parties consent to trial of this case by a
United States Magistrate Judge, this Court may enter an order referring the case to a United
States Magistrate Judge for trial and entry of judgment.

       IT IS SO ORDERED.

       SIGNED this 16th day of December, 2024.




                                              ELIZABETH S. ("BETSY") CHESTNEY
                                              UNITED STATES MAGISTRATE JUDGE




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                  Plaintiff,                     §
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NEW YORK INC., MERIDIAN                          §
SERVICES, L.L.C.,                                §
                                                 §
                  Defendants.


                      CONSENT TO PROCEED TO TRIAL BEFORE
                       A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c), the parties to the above

captioned civil matter hereby waive their rights to proceed before a judge of the United States

District Court and consent to have a United States Magistrate Judge conduct any and all further

proceedings in the case, including the trial, and order the entry of judgment. Any appeal shall be

taken to the United States Court of Appeals for this judicial circuit, in accordance with 28 U.S.C.

§ 636(c)(3).

____________________________           By:____________________________
Party                                        Attorney
____________________________           By:_____________________________
Party                                        Attorney
____________________________           By:_____________________________
Party                                        Attorney
      APPROVED this the ______ day of _________________, 2024.


                                              _________________________________________
                                              JASON K. PULLIAM
                                              UNITED STATES DISTRICT JUDGE



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